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                                           5                              IN THE UNITED STATES DISTRICT COURT
                                           6                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                           8   IN RE: TFT-LCD (FLAT PANEL) ANTITRUST                    No. M 07-1827 SI
                                               LITIGATION
                                           9                                       /                    MDL. No. 1827
                                          10          This Order Relates to:                            ORDER GRANTING PLAINTIFFS’
                                                                                                        MOTION TO CERTIFY UNDER 28 U.S.C.
For the Northern District of California




                                          11   AT&T Mobility LLC et al. v. AU Optronics                 § 1292(b)
    United States District Court




                                               Corp., et al., C 09-4997 SI
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                                          15          On February 17, 2011, the Court held a hearing on plaintiffs’ motion to certify under 28 U.S.C.
                                          16   § 1292. Plaintiffs seek to certify the Court’s order of November 12, 2010 dismissing in part plaintiffs’
                                          17   second amended complaint. Specifically, plaintiffs seek review of the question whether the application
                                          18   of California antitrust law to claims against defendants based on purchases that occurred outside
                                          19   California would violate the Due Process Clause of the United States Constitution.
                                          20          The Court finds that plaintiffs’ motion is timely and that plaintiffs have shown that an
                                          21   interlocutory appeal is appropriate. The question is controlling because it governs the scope of
                                          22   plaintiffs’ claims in this case, there is substantial ground for difference of opinion, and an immediate
                                          23   appeal would materially advance plaintiffs’ case. In addition, this threshold issue of whether the
                                          24   Cartwright Act applies to out-of-state purchases has been raised in other cases in this MDL. Finally,
                                          25   plaintiffs state that they will not seek a stay pending an interlocutory appeal, and thus there will be no
                                          26   delay in this litigation if the Ninth Circuit permits the appeal.
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                                           1         Accordingly, the Court GRANTS plaintiffs’ motion to certify under 28 U.S.C. § 1292(b).
                                           2   (Docket Nos. 2310 & 2318).
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                                           4         IT IS SO ORDERED.
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                                           6   Dated: March 4, 2011
                                                                                                        SUSAN ILLSTON
                                           7                                                            United States District Judge
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For the Northern District of California




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    United States District Court




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